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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA            :                 Case No:
                                    :                 UNDER SEAL
            v.                      :
                                    :                 VIOLATIONS:
FIROZ PATEL,                        :                 18 U.S.C. § 1956(a)(1)(B)(i)
                                    :                 (Laundering of Monetary Instruments)
                  Defendant.        :
                                    :                 18 U.S.C. § 1957(a)
                                    :                 (Engaging in Monetary Transactions in
                                    :                  Property Derived from Specified
                                    :                  Unlawful Activity)
____________________________________:

               AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                           AND ARREST WARRANT

I, Special Agent Eugene Sveum, being first duly sworn, hereby depose and state as follows:

               INTRODUCTION AND SUMMARY OF PROBABLE CAUSE

       I make this affidavit in support of an application for a criminal complaint and an arrest

warrant for Firoz Patel. There is probable cause to believe that Patel violated: 1) 18 U.S.C. §

1956(a), the laundering of monetary instruments; and 2) 18 U.S.C. § 1957, engaging in monetary

transactions in property derived from specified unlawful activity.

       As set forth in detail below, investigation by agents of the Department of Homeland

Security, Homeland Security Investigations (“HSI”) revealed that Firoz Patel, his brother Ferhan

Patel, the company they operated - Payza (also known as MH Pillars Ltd., AlertPay, Damaras

Ltd., etc.) and other identified and unidentified subjects conducted business in the United States,

Canada, and other locations around the world. As noted below, each of MH Pillars, d/b/a Payza,

Firoz Patel and Ferhan Patel were indicted and pled guilty to conspiracy under 18 U.S.C. § 371

and admitted various facts in connection therewith.

       After Firoz Patel was sentenced, but before he self-reported to a United States Bureau of

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Prisons facility, he deposited 450 Bitcoin (bitcoin BTC) (valued at $24,020,699.83 USD on that

date), into an interest earning account at Blockchain.com. That bitcoin is the proceeds of

Payza’s prior illicit activities. By the time that a seizure warrant was obtained for this bitcoin, it

had earned approximately nine bitcoin in interest.

                                    AGENT BACKGROUND

       I am a Special Agent with the United States Department of Homeland Security (“DHS”),

United States Immigration and Customs Enforcement (“ICE”), Homeland Security Investigations

(“HSI”). I am currently assigned to the HSI DC Financial Crimes Group where I specifically

work on money laundering, fraud, and other financial criminal activities. During this time, I was

also previously assigned to the HSI DC Financial Crimes Group from 2011 to 2017. I was also

assigned to the Washington, D.C. Financial Crimes Task Force, where my responsibilities

included the investigation of possible criminal violations of the money laundering statutes and

related offenses. I have received specific training involving investigations of financial crimes,

money laundering, fraud, and asset forfeiture. I have also obtained the Certified Anti-Money

Laundering Specialist (CAMS) certification from the Association of Certified Anti-Money

Laundering Specialists (ACAMS) organization. Based upon my training and experience, I am

familiar with the methods of operation employed by subjects in unlicensed money service

businesses and money laundering operations.

       I have personally conducted or assisted in numerous investigations of alleged criminal

violations of the Bank Secrecy Act and Money Laundering statutes, involving multiple

jurisdictions in addition to the United States. I have participated in gathering evidence to obtain

search and seizure warrants relating to financial crimes. Among other things, my experience as a




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HSI special agent has included the investigation of cases involving the use of computers and the

Internet to commit financial crimes, to include the use of virtual currency such as Bitcoin.

        The facts set forth in this affidavit are based on information that I have obtained from my

personal involvement in this investigation and from other law enforcement officers and analysts

who have been involved in this investigation, on documents that I have reviewed, and on my

training and experience. Because this affidavit is being submitted for a limited purpose, I have

not set forth all the information known to me concerning this investigation. Instead, I have set

forth information that I believe to be sufficient to establish probable cause in support of this

application for a criminal complaint and an arrest warrant. Where I have reported statements

made by others, or from documents that I have reviewed, those statements are reported in

substance and in part, unless otherwise indicated.

                        STATUTORY BACKGROUND OF VIOLATIONS

        This affidavit sets forth information about the underlying statutory violations in the previously-

charged case as well as those at issue in Firoz Patel’s new conduct.

        Title 18 U.S.C. Section 1960 prohibits knowingly conducting, controlling, managing,

supervising, directing, or owning all or part of an unlicensed money transmitting business, which

affects interstate or foreign commerce in any manner or degree. Under 18 U.S.C. § 1960(b)(2),

“the term ‘money transmitting’ includes transferring funds on behalf of the public by any and all

means including but not limited to transfers within [the United States] or to locations abroad by

wire, check, draft, facsimile, or courier.” Payza routinely and extensively received and

transferred funds on behalf of the public both within this country and abroad. I am aware that

unlicensed money transmitters are often used by criminals to transfer funds among associates and to

launder illegal proceeds for crimes such as terrorist financing, narcotics trafficking, identity theft, and



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child pornography.

        Title 18 U.S.C. Section 1960(b) delineates the three types of unlicensed money services

businesses. Title 18 U.S.C. Section 1960(b)(1)(A) makes it a federal offense to operate a money

transmitting business without a license in a state or the District of Columbia, where such unlicensed

operation is punishable as a misdemeanor or a felony under state law. For purposes of 18 U.S.C. §

1960(b)(1)(A), it is not required that the defendant knew that he was required to be licensed or that the

operation of such a business without a license was so punishable.

        The District of Columbia Money Transmitters Act, D.C. Stat. §§ 26-1001 et seq., requires

all money transmission businesses to obtain a license by the Superintendent of the Office of

Banking and Financial Institutions of the District of Columbia. Pursuant to D.C. Stat. § 26-

1001(10), “‘[m]oney transmission’ means the sale or issuance of payment instruments or

engaging in the business of receiving money for transmission or transmitting money within the

United States, or to locations abroad, by any and all means, including but not limited to payment

instrument, wire, facsimile, or electronic transfer.” Pursuant to D.C. Stat. § 26-1023, a violation

of this statute is a felony punishable by a fine of not more than $25,000, imprisonment of not

more than five years, or both. MH Pillars Incorporated d/b/a Payza was engaged in the business

of “money transmission,” in that it engaged in the business of receiving money for transmission

and transmitting money within the United States and to locations abroad, by wire and electronic

transfer. MH Pillars Incorporated d/b/a Payza failed to obtain a license from the Superintendent

of the Office of Banking and Financial Institutions of the District of Columbia, in violation of §

26-1002 of the D.C. Code, and thus, in violation of Title 18 U.S.C. Section 1960(b)(1)(A).

        Title 18 U.S.C. Section 1960(b)(1)(B), which incorporates Title 31 U.S.C. Section 5330,

punishes an individual or entity that operates an unlicensed money transmitting business without having



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registered with the Financial Crimes Enforcement Network (FinCEN). FinCEN defines money

transmission services as, “the acceptance of currency, funds or other value that substitutes for

currency from one person and the transmission of currency, funds or other value that substitutes

for currency to another location or person by any means.” See Bank Secrecy Act Regulations -

Definitions and Other Regulations Relating to Money Services Businesses, 76 FR 43585 (July

21, 2011). “‘Any means’ includes, but not limited to, through a financial agency or institution; a

Federal Reserve Bank or other facility of one or more Federal Reserve Banks, the Board of

Governors of the Federal Reserve System, or both; an electronic funds transfer network; or an

informal value transfer system or [a]ny other person engaged in the transfer of funds.” 31 C.F.R.

§ 1010.100(ff)(4). MH Pillars Incorporated d/b/a Payza registered with FinCEN as a money

transmitting business on May 28, 2012. However, MH Pillars’/Payza’s registration with

FinCEN lapsed on December 31, 2014. After that day, Payza was no longer authorized to act as

a money remitting business. MH Pillars Incorporated d/b/a Payza has operated as a money

remitting business both prior to May 28, 2012, as well as after December 31, 2014, without the

statutorily required registration.

        Title 18 U.S.C. Section 1960(b)(1)(C) punishes an individual or entity who operates an

unlicensed money transmitting business that is involved in the transportation or transmission of funds

that are known to have been derived from a criminal offense or are intended to promote or support

unlawful activity. MH Pillars Incorporated d/b/a Payza knew, or had reason to know, that a substantial

portion of the funds it was transmitting were criminally derived as further discussed below.

        Title 18 U.S.C. Section 1343, the wire fraud statute, punishes those who, having devised

or intending to devise any scheme or artifice to defraud, or for obtaining money or property by

means of false or fraudulent pretenses, representations, or promises, transmits or causes to be



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transmitted by means of wire, radio, or television communication in interstate or foreign

commerce, any writings, signs, signals, pictures, or sounds for the purpose of executing such

scheme or artifice. Title 18, U.S.C., Section 1349 criminalizes a wire fraud conspiracy.

      Title 18 U.S.C. Section 1956(a)(1)(A)(i), the domestic promotional money laundering

statute, criminalizes conducting or attempting to conduct a financial transaction which involves

the proceeds of specified unlawful activity, knowing that the property involved in the financial

transaction represents the proceeds of some form of unlawful activity, with the intent to promote

the carrying on of specified unlawful activity, that is a violation of, inter alia, Title 18 U.S.C.

Section 1343, wire fraud, or Title 18 U.S.C. Section 1960, unlicensed money transmitting

business.

      Title 18 U.S.C. Section 1956(a)(1)(B)(i), the domestic concealment money laundering

statute, criminalizes conducting or attempting to conduct a financial transaction which involves

the proceeds of specified unlawful activity, knowing that the property involved in the financial

transaction represents the proceeds of some form of unlawful activity, knowing that such

transaction was designed in whole or in part to conceal and disguise the nature, the location, the

source, the ownership, and the control of the proceeds of specified unlawful activity, that is a

violation of, inter alia, Title 18 U.S.C. Section 1343, wire fraud, or Title 18 U.S.C. Section 1960,

unlicensed money transmitting business.

      Title 18 U.S.C. Section 1956(a)(2)(A), the international promotional money laundering

statute, criminalizes transporting, transmitting, and transferring, and attempting to transport,

transmit, and transfer a monetary instrument or funds to a place in the United States from or

through a place outside the United States, or to a place in the United States from or through a

place outside the United States, with the intent to promote the carrying on of specified unlawful



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activity, that is a violation of, inter alia, Title 18 U.S.C. Section 1343, wire fraud, or Title 18

U.S.C. Section 1960, unlicensed money transmitting business.

       18 U.S.C. § 1957 (the spending statute) criminalizes knowingly engaging and attempting

to engage in a monetary transaction in criminally derived property that is of a value greater than

$10,000 and that is derived from specified unlawful activity, that is a violation of, inter alia, 18

U.S.C. § 1343, wire fraud, or 18 U.S.C. § 1960, unlicensed money transmitting business.

       Title 18 U.S.C. Section 1956(h) criminalizes a conspiracy to violate Title 18 U.S.C.

Sections 1956 or 1957.

       Pursuant to 18 U.S.C. § 981(a)(1)(A), any property, real or personal, involved in a

transaction or attempted transaction, in violation of 18 U.S.C. §§ 1956, 1957 or 1960, or any

property traceable to such property, is subject to civil forfeiture. Pursuant to 18 U.S.C. §

982(a)(1), any property, real or personal, involved in a violation of 18 U.S.C. §§ 1956, 1957 or

1960, or any property traceable to such property, is subject to criminal forfeiture. Forfeiture

pursuant to these statutes applies to a larger class of property than forfeiture under 18 U.S.C §

981(a)(1)(C) because it applies to more than just the proceeds of the crime. Forfeiture based on

money laundering and money transmission business offenses is required for all property

“involved in” the crime, which can include clean or legitimate money that is comingled with

tainted money derived from illicit sources.

                                           PROBABLE CAUSE

       Based upon my investigation (as well as facts admitted in connection with the earlier

prosecution and conviction of Firoz Patel, Ferhan Patel, and their corporate entity), probable

cause exists to believe that Payza used personal and business bank accounts at financial

institutions in the United States and abroad to operate an unlicensed international money



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transmitting business on behalf of customers located in multiple jurisdictions, including the

United States, Vietnam, Pakistan, and Egypt. Payza also offered cryptocurrency services to

customers as a medium for facilitating these transactions. The investigation, as explained in

greater detail below, has revealed that the focus of Payza’s money transmitting business was the

transmission of funds from numerous locations in the United States where Payza was not

licensed. A large amount of these funds was transferred in and out of Payza’s bank accounts, to

include cryptocurrency wallets, held in or accessed in the United States and outside the United

States. Moreover, Payza operated as a money laundering front for criminals, conducting a

variety of crimes, including wire fraud via Ponzi schemes. Payza was a preferred platform for

transferring illegal proceeds because of Payza’s weak Know Your Customer (“KYC”) policy and

compliance program that failed to weed out bad actors. Whatever legitimate business Payza

customers transacted was merely part of the front the coconspirators built to conceal and promote

the illegal transmission of illegal proceeds.

       As discussed below, on March 18, 2018, MH Pillars, d/b/a Payza, Firoz Patel and Ferhan

Patel were indicted on various charges. See D.D.C. Criminal Case No. 18-cr-053. On July 16,

2020, each of these defendants pled guilty to Conspiracy to Commit Crimes against the United

States in violation of 18 U.S.C. § 371 and they were all sentenced on November 10, 2020. The

Court issued Consent Orders of Forfeiture against all three of these defendants, each of which

contained the following provision: “That the following property is declared forfeited to the

United States: any property, real or personal, involved in the commission of Count One, and any

property traceable to such property pursuant to Title 18, United States Code, Section 982(a)(1).”

See D.D.C. Criminal Case No. 18-cr-053, ECF Nos. 123, 132, and 133.




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       A.              Background on Payza

       Beginning in May 2013, the United States Government, including HSI and the

Washington, D.C. Financial Crimes Task Force, initiated an expansive financial investigation of

MH Pillars Ltd., doing business as Payza. The investigation revealed that starting in

approximately 2005, the principals of Payza knowingly operated an unlicensed money service

business used by criminals as a conduit to launder illicit proceeds. Payza, through its robust

network of shell companies and criminal associates, became the preferred method for criminals

to launder illicit proceeds and transfer funds to other criminal associates. At its peak, the volume

of illicit proceeds moving through the Payza system was hundreds of millions of dollars

annually. Payza, whose operations were based in Canada, used Canada as a safe harbor to

conduct their illicit activity while committing numerous financial crimes via the Internet

affecting interstate commerce in the United States and internationally.

       Payza was an internet based financial institution that specialized in providing services to

“under-serviced” areas of the global economy. According to its website, Payza was the leading

global online payment platform specializing in e-commerce processing, corporate disbursements,

and remittances for individuals and businesses around the world. Payza provided localized bank

transfers, global bank wires, credit and debit card services, prepaid cards and other services. At

one time, Payza purported to have over thirteen million members offering services in 190

countries and in at least 25 different currencies.

       On March 19, 2012, “MH Pillars Incorporated” registered with the New York

Department of State, Division of Corporations as a domestic business corporation. I learned

during the investigation that “MH Pillars Limited” was a pre-existing business registered in the

United Kingdom, while “MH Pillars Incorporated” may have been a pre-existing business



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registered in Canada under a different name.

       Law enforcement agents obtained corporate documents listing Firoz Patel and Ferhan

Patel as the principals of Payza. Law enforcement learned that although the organizational

structure of the numerous Patel-operated companies frequently changed, Firoz Patel has

consistently maintained a controlling interest in Payza and its parent company (MH Pillars LTD).

Although MH Pillars was the parent company of Payza, MH Pillars also had a parent company,

Solitaire Holdings located in Belize, which is also the same address that Firoz Patel provided to

Blockchain.com as the address of Musa Patel (35 Barrack Road, 2nd Floor, Belize City, Belize).

       Law enforcement agents interviewed numerous then-current and former employees and

business associates of Payza, many of whom cooperated with the government. These individuals

confirmed Payza’s involvement in nefarious activity and provided evidence that Payza was

operating without the requisite licenses and was laundering criminal proceeds. Many of these

individuals provided a detailed account of conversations they had with Firoz Patel, Ferhan Patel,

and other members of Payza leadership regarding the illicit activity of Payza. Moreover, these

individuals produced emails and other corporate documents that corroborated their statements.

Several former Payza employees reported that when they voiced concerns to Firoz Patel and

Ferhan Patel about the illegal activity of the company, their access to certain records were

revoked and shortly thereafter their employment was terminated.

       Corporate documents obtained via judicially authorized email search warrants of several

Payza executives led to the discovery of numerous conversations amongst Payza’s leadership

regarding the operation of an unlicensed money transmitter business and money laundering.

These documents included conversations about Payza’s lack of licensure, sanitizing reports to

prevent third party disclosure of illicit activity, and the creation of numerous shell companies and



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bank accounts used to further the conspiracy.

       Included in these emails detailing the private conversations of Payza’s leadership was an

internal audit conducted by Payza on 106 customer accounts. See 14-mj-00534 (AK) Sealed; 14-

mj-00535 (AK) Sealed; 15-mj-00351 (AK) Sealed; and 15-mj-00352 (AK) Sealed. The audit

revealed that the majority of these accounts lacked sufficient documentation to properly identify

the customer, commonly known as KYC. Of the 106 Payza customer accounts that were

audited, only 17 contained sufficient documentation to properly identify the customer. Stated

differently, 84% of the Payza accounts that were audited contained insufficient KYC and

compliance data, creating an opportunity for these individuals to send criminal proceeds

undetected.

       The Rex Venture Group (a/k/a Zeek Rewards) offers the primary example of Payza being

used to launder Ponzi scheme proceeds. Law enforcement learned that for the vast majority of

2012, Payza’s primary transaction activity related to a single user, Paul Burks, the individual

who ran the Rex Venture Ponzi scheme. The records reflect at least $100,000,000 in transactions

conducted from and to Burks’ Payza account. On or about August 17, 2012, the Securities and

Exchange Commission (SEC) filed a civil complaint in the United Stated District Court for the

Western District of North Carolina against Rex Venture Group and Paul Burks for the operation

of approximately a $600,000,000 Ponzi and pyramid scheme (3:12-cv-519). Burks’ transactions

via Payza are consistent with the laundering of proceeds of the Rex Venture Group Ponzi

scheme. Numerous of these transactions were for high dollar amounts, often over $10,000.

      Emails among Payza employees obtained via search warrants revealed that Payza

attempted to encourage the Rex Venture Group to relocate operations outside of the United




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States shortly before it was shut down by the SEC.

      In addition to the Rex Venture Group Ponzi scheme, law enforcement agents were able to

identify other Ponzi schemes under investigation by law enforcement that Payza similarly

suggested to relocate abroad. I know that one reason to advise customers to relocate assets and

incorporation documentation abroad is to inhibit the ability of law enforcement to shut down the

illegal operation and to criminally prosecute those involved in the conspiracy while they are in

the United States.

       Emails obtained from these search warrants indicated Payza was involved in trying to

introduce Bitcoin as a method of transferring funds or making payments via the Payza platform

as early as 2014. The emails also showed Payza paid at least one employee their salary in

Bitcoin. That employee was hired by Payza to help launch the ability of Payza to incorporate

Bitcoin into their business model. At the time that employee was hired by Payza, he was

awaiting sentencing for aiding and abetting the operation of an unlicensed money transmitting

business related to the Silk Road marketplace.

      Corroborating these findings, on August 11, 2014, Payza issued a press release

announcing that customers could now purchase bitcoin and withdraw funds from

their Payza accounts to their Bitcoin wallets. Payza subsequently established a relationship with

a Panama based cryptocurrency wallet service provider called Coinapult, which provided Payza

with the Bitcoin it needed to operate in the digital currency space.

      B.       Payza’s Use of Shell Companies in Furtherance of the Criminal Conspiracy

      One method used by Payza and its principals to insulate themselves and aid in the

concealment of their illicit activity was to frequently change the leadership and the name of

companies involved in illicit activity or to keep the name but to conduct business under a trade



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name or alias. Law enforcement has learned that despite the frequent changes in the

organizational structure of Patel-operated companies that Firoz Patel consistently maintained a

controlling interest. These changes were often triggered by actions taken by law enforcement, a

financial institution, or regulatory authority against the company due to the underlying criminal

activity. I know that one reason to frequently change the name of a business or its leadership is

to aid in the concealment of the company’s true leadership, ownership and the origin of funds

passing through it.

      For example, Firoz Patel and Ferhan Patel established Alertpay, which was incorporated

in the United States, in or about May 2005. From on or about April 2005 to May 2012, Alertpay

operated as an unlicensed money service business. Many of Alertpay’s customers used Alertpay

to transmit proceeds of criminal activity.

      Regulators from Arkansas, Georgia, Kentucky, New Hampshire, New York and North

Dakota notified Alertpay about its unlicensed activity in their respective states.

      By early 2012, AlertPay had received negative press attention that focused on its servicing

of customers involved in various illegal schemes. In response, Firoz Patel told others that

AlertPay would rebrand itself and he would step down from day-to-day operations and would

bring in a new CEO. In early 2012, Firoz Patel purchased MH Pillars, a shell company that had

been formed in the United Kingdom. MH Pillars, doing business as Payza, claimed to have

purchased AlertPay and AlertPay accounts were transitioned to Payza accounts. Firoz Patel was

listed as the Executive Vice President of Payza, however, he was the most senior person at the

company and ultimately, all employees reported to him. The transition to Payza was marketed as

an acquisition of AlertPay’s technology and customers by a UK-based entity and a UK based

CEO. In fact, the person named as the CEO was merely a figurehead who lacked real authority



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and the Patel brothers controlled everything that occurred at Payza. The substantive changes

Firoz Patel had claimed would occur did not materialize. Specifically, Payza continued to

support Ponzi and pyramid schemes.

      Payza began transmitting money in or about May 2012, at or about the same time Firoz

Patel and Ferhan Patel transitioned Alertpay customer accounts to Payza accounts. The

transition occurred in part because numerous state regulators contacted Alertpay about its

unlicensed activity and because it had been revealed that Alertpay had taken on customers

trafficking in child pornography. The transition also occurred because on June 7, 2012, Firoz

Patel was indicted in the U.S. District Court for Middle District of Tennessee on two counts of

money laundering associated with his operation of Alertpay to launder illicit proceeds derived

from the importation and distribution of anabolic steroids and other controlled substances. Payza

represented a continuation of the illegal activity begun by Alertpay.

       Shortly after the establishment of Payza, regulators from California, Connecticut, Kansas,

Kentucky, New York, Ohio, Vermont, and West Virginia contacted Payza about unlicensed

money transmitting activity in their respective states.

       In addition to Payza’s unlicensed money transmission activity, Payza’s customers were:

1) primarily merchants operating Ponzi and Pyramid schemes, High Yield Investment Programs,

Money Cyclers, and Multi-Level-Marketing schemes with no products; 2) and the related victims

of such schemes.

       In the factual proffers in support of their guilty pleas, Firoz Patel and Ferhan Patel

admitted that many of Payza’s customers transmitted criminally derived proceeds via Payza.

The transmission of these funds promoted the continuation and operation of these underlying

criminal schemes.



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       After Payza’s questionable customer base was brought to the attention of Payza’s

leadership by at least two different vendors providing supportive services to Payza, the Patels

again sought to make corporate changes designed to conceal the company’s involvement in

criminal activity. Specifically, the Patels established Egopay, which was incorporated in Belize,

in or about May 2012, and operated as an unlicensed money service business.

       While concealing its ties to the Patels, Egopay took on numerous Payza merchant-

customers who were operating Ponzi and Pyramid schemes, High Yield Investment Programs,

Cyclers, and Multi-Level-Marketing schemes with no products. Emails obtained in a judicially

authorized search warrant revealed that Firoz Patel, Ferhan Patel, and others directly facilitated

the transition of these schemes from Payza to Egopay. This transition enriched the Patels,

allowing them to continue supporting the underlying criminal activity of these schemes while

claiming publicly that Payza was not providing services to these merchants.

       A Payza employee stated that Firoz Patel owned a lot of companies in other people’s

names, such as Ferhan Patel, and other friends and family members. This employee knew of at

least 30 companies that Firoz Patel had created and owned in furtherance of the conspiracy. The

employee stated that Firoz Patel’s name being attached to the companies was causing him

problems. As a result, Firoz Patel would create companies and place them in someone else’s

name but would still have a “blind trust” behind them so that he still exercised full control. The

employee stated that at times Firoz Patel would ask him/her to falsify corporate documents and

that Firoz Patel kept changing the directors of companies based on what he wanted. The

employee stated that Firoz Patel eventually became frustrated with him/her when he/she refused

to comply with Patel’s request to alter corporate documents, to include documents that would be

used in legal proceedings. The employee ultimately left Payza, fearful of Firoz Patel.



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        C.       Judicial Actions Against Firoz Patel and Payza

        On November 14, 2013, a United States Magistrate Judge for the United States District

Court for the District of Columbia issued a seizure warrant to seize approximately $4,000,100,

representing Payza funds held on deposit at Meriwest Credit Union (1:13-mj-836).

        On January 27, 2014, a United States Magistrate Judge for the United States District Court

for the District of Columbia issued a seizure warrant to seize approximately $100,000,

representing Payza funds held on deposit at Wells Fargo Bank (1:14-mj-0059).

        On June 24, 2016, a United States Magistrate Judge for the United States District Court

for the District of Columbia issued a seizure warrant to seize approximately $250,359.45,

representing Payza funds held on deposit at Cedar Rapids Bank and Trust Company (1:16-mj-

483).

        On December 21, 2016, a United States Magistrate Judge for the United States District

Court for the District of Columbia issued a seizure warrant to seize approximately $6,454,267.63

representing Payza funds held on deposit at a United Kingdom financial institution used to

facilitate the illicit activity of Mazarine Commerce Inc. and other Payza related entities (1:16-mj-

00857).

        On June 23, 2017, a United States Magistrate Judge for the United States District Court

for the District of Columbia issued a seizure warrant to seize approximately $1,594,205.63,

representing Payza funds held on deposit at a United Kingdom financial institution used to

facilitate the illicit activity of Payza related entities (1:17-mj-438).

        On March 18, 2018, MH Pillars Ltd. doing business as Payza and its principal officers,

Firoz Patel and Ferhan Patel, were indicted on numerous charges stemming from their operation

of the Payza criminal enterprise. MH Pillars Ltd. doing business as Payza was charged with the



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Operation of an Unlicensed Money Service Business, in violation of 18 U.S.C. § 1960. The

Patels were each indicted on a Conspiracy to Commit Offenses against the United States in

violation of 18 U.S.C. § 371; Operation of an Unlicensed Money Service Business, in violation

of 18 U.S.C. § 1960; Money Laundering in violation of 18 U.S.C. § 1956, and Money

Transmitting without a License, in violation of District of Columbia Code 26-1002. Two other

co-conspirators were also indicted.

      On March 20, 2018, Law enforcement agents obtained a seizure warrant for the website

domains, www.payza.com and www.alertpay.com, which were used to propagate the criminal

activity of Payza and its subsidiaries to include Mazarine Commerce Inc.

      On June 11, 2019, a United States Magistrate Judge for the United States District Court

for the District of Columbia issued a seizure warrant to seize approximately $270,420.02

representing Payza funds held on deposit at Citibank, N.A. (X-0884).

      On July 16, 2020, MH Pillars LTD, Firoz Patel, and Ferhan Patel all pled guilty to

Conspiracy to Commit Crimes against the United States. The specific crimes that they pled

guilty to included Money Laundering and Operating an Unlicensed Money Service Business.

       They were all sentenced on November 10, 2020 and both Firoz Patel and Ferhan Patel were

sentenced to periods of incarceration. Included in this sentencing was an order that forfeited “any

property, real or personal, involved in the commission of Count One, and any property traceable

to such property pursuant to Title 18, United States Code, Section 982(a)(1).” In addition, the

Court ordered the forfeiture of the $4,620,459.45 seized by the U.S. Government and all funds

restrained at Global Reach Partners and HSBC Bank held in the name of Damaras Limited in the

United Kingdom.

      Both Firoz and Ferhan Patel were scheduled to self-surrender to a United States prison on



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February 26, 2021. However, because of the covid pandemic and limitations on their ability to

travel to the United States due to their convictions, that date was delayed. Ultimately, they

completed their self-surrender on June 11, 2021.

      On January 11, 2022, a United States Magistrate Judge for the United States District Court

for the District of Columbia issued a seizure warrant to seize approximately 459 bitcoin

representing Payza funds held at Blockchain.com, a cryptocurrency exchange located in the

United Kingdom. The 459 bitcoin included the 450 bitcoin that Firoz Patel had initially

deposited and the interest earned on those bitcoin.

       D.      Digital Currency and Bitcoin

       Digital currency (or cryptocurrency) is a decentralized, peer-to-peer network-based

digital medium of value or exchange which can be used as a substitute for fiat currency (i.e.,

currency created and regulated by a government) to buy goods and services or exchanged for fiat

currency or other digital currencies. Digital or cryptocurrency can exist digitally on the Internet,

in an electronic storage device, and in cloud-based servers. Although not stored in any physical

form, public and private keys are used to transfer digital currency from one person or place to

another and can be printed or written on a piece of paper or other tangible object. Digital

currency can be exchanged directly person to person, through a digital currency exchange, or

through other intermediaries.

      Bitcoin (“BTC”) is a type of digital currency. Bitcoin payments are recorded in a public

ledger (i.e., a “blockchain”) that is maintained by peer-to-peer verification and is thus not

maintained by a single administrator or entity. Bitcoin and other cryptocurrencies are stored in

virtual accounts called “wallets.” A wallet is a software program that interfaces with blockchains

and generates and/or stores public and private keys used to send and receive cryptocurrency.



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      To access bitcoins on the public ledger, an individual must use a public address (or

“public key”) and a private address (or “private key”). The public address can be analogized to

an account number while the private key is like the password to access that account. Even

though the public addresses of transactors are recorded on the public ledger, the true identities of

the individuals or entities behind the public addresses are not recorded. If, however, a real

individual or entity is linked to a public address, it would be possible to determine what

transactions were conducted by that individual or entity. Bitcoin transactions are, therefore,

described as “pseudonymous,” meaning they are partially anonymous. And while it’s not

completely anonymous, bitcoin allows users to transfer funds more anonymously than would be

possible through traditional banking and financial systems.

      Cryptocurrencies are not illegal in the United States and are widely used to conduct both

legitimate and unlawful business. Individuals can acquire Bitcoins through, for example, digital

currency exchanges (i.e., websites—such as Blockchain.com, which is described further below—

that allow individuals to purchase or sell cryptocurrencies in exchange for fiat currency or other

cryptocurrencies), ATMs, or directly from other people. Individuals can also acquire

cryptocurrencies by “mining.” An individual can mine Bitcoins by allowing his/her computing

power to verify and record payments into the aforementioned public ledger. Individuals are

rewarded for this task by receiving newly created units of a cryptocurrency.

      Although cryptocurrencies such as bitcoin have legitimate uses, cryptocurrency is also

used by individuals and organizations for criminal purposes such as money laundering and is an

oft-used means of payment for illegal goods and services. By maintaining multiple wallets,

those who use cryptocurrency for illicit purposes can attempt to thwart law enforcement’s efforts

to track the cryptocurrency. As of April 21, 2023, one bitcoin is worth approximately



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$28,094.80, though the value of bitcoin is generally much more volatile than that of fiat

currencies.

       Exchangers and users of Bitcoin and other digital currencies often store, and transact

with, these cryptocurrencies in several ways, utilizing desktop, mobile, and online wallets;

hardware devices; and paper wallets. Desktop, mobile, and online wallets are electronic in

nature and can be stored on mobile devices (e.g., smart phones or tablets) or websites that users

can access via a computer, smart phone, or any device that can search the internet. Wallets can

also be stored on external or removable media and hardware (such as USB thumb drives). In

addition, paper wallets contain an address and a QR code 1 with the public and private key

embedded in the code. Paper wallet keys are not stored digitally. Wallets can also be backed up

into, for example, paper printouts, USB drives, or CDs, and accessed through a “seed phrase”

(random words strung together in a phrase, also known as a “recovery phrase”) or a complex

password. Additional security safeguards for cryptocurrency wallets can include two-factor

authorization (such as a password and a phrase). I also know that individuals possessing

cryptocurrencies often have safeguards in place to ensure that their cryptocurrencies become

further secured in the event that the cryptocurrencies become potentially vulnerable to seizure

and/or unauthorized transfer.

       Bitcoin “exchangers” and “exchanges” are individuals or companies that exchange

bitcoin for other currencies, including U.S. dollars. According to guidance issued by the

Department of Treasury’s Financial Crimes Enforcement Network (“FinCEN”) on March 18,

2013, virtual currency administrators and exchangers, including an individual exchanger




1
       A QR code is a matrix barcode that is a machine-readable optical label.


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operating as a business, are considered money services businesses. 2 Such exchanges and

exchangers are required to register with FinCEN and have proper state licenses (if required under

applicable state law). From my training and experience, I know that registered money

transmitters are required by law to follow Bank Secrecy Act anti-money laundering (“AML”)

regulations, “Know Your Customer” (“KYC”) protocols, and other verification procedures

similar to those employed by traditional financial institutions. For example, FinCEN-registered

cryptocurrency exchangers often require customers who want to open or maintain accounts on

their exchange to provide their name, address, phone number, and the full bank account and

routing numbers that the customer links to an exchange account.

       E.      Blockchain Analysis

       While the identity of the Bitcoin address owner is generally anonymous (unless the

owner opts to make the information publicly available), law enforcement can identify the owner

of a particular BTC address by analyzing the Blockchain. The analysis can also reveal additional

addresses controlled by the same individual or entity. For example, a user or business may create

many BTC addresses to receive payments from different customers. When the user wants to

transact the BTC that it has received (for example, to exchange BTC for other currency or to use

BTC to purchase goods or services), it may group those addresses together to send a single

transaction. Law enforcement uses sophisticated, commercial services offered by several

different Blockchain-analysis companies to investigate BTC transactions. These companies

analyze the Blockchain and attempt to identify the individuals or groups involved in the BTC




2
        See “Application of FinCEN’s Regulations to Person Administering, Exchanging, or
Using Virtual Currencies,” available at https://www.fincen.gov/resources/statutes-
regulations/guidance/application-fincens-regulations-persons-administering.
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transactions. Specifically, these companies create large databases that group BTC transactions

into “clusters” through analysis of data underlying BTC transactions.

       Through numerous unrelated investigations, law enforcement has found the information

provided by these companies to be reliable. The third-party Blockchain-analysis software utilized

in this case is an anti-money laundering software used by banks and law enforcement

organizations worldwide. This third-party Blockchain analysis software has supported many

investigations and been the basis for numerous search and seizure warrants, and as such, has

been found to be reliable. Computer scientists have independently shown that they can use

“clustering” methods to take advantage of clues in how BTC is typically aggregated or split up to

identify BTC addresses and their respective account owners.

       Since the Blockchain serves as a searchable public ledger of every BTC transaction,

investigators may trace transactions to BTC exchangers. Because those exchanges collect

identifying information about their customers, subpoenas or other appropriate process submitted

to these exchangers can, in some instances, reveal the true identity of the individual responsible

for the transaction.

       F.      Blockchain.com

       According to its website (https://blockchain.com), Blockchain.com is a company that

offers cryptocurrency wallet services, to include buying, selling, swapping, and interest services

within a customer’s Blockchain.com wallet.

       Users of Blockchain.com’s services can download a digital wallet application onto their

smart phone or access the site through a computer. A user typically accesses the wallet

application through inputting a user-generated PIN code or password. Users can then store,

receive, and transfer cryptocurrencies via the Blockchain.com application and site.



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      G.        Deposit and Restraint of the Bitcoin Related to the Instant Offenses

      On July 2, 2021, HSI DC learned that on April 27, 2021 (one month prior to Firoz Patel’s

self-surrender date), Firoz Patel deposited 450 BTC (valued at $24,020,699.83 USD on that

date), into an interest earning account at Blockchain.com. That bitcoin is suspected to be

proceeds of Payza’s prior illicit activities – as described below. The bitcoin was ultimately

frozen by Blockchain.com due to the account holder’s suspected ties to Payza and the inability of

the account holder to provide adequate KYC information. The restraint was accomplished by

transferring the bitcoin to a separate wallet.

      Information obtained by HSI DC reflects the account with Blockchain.com was opened on

April 25, 2021 in the name of Musa Patel, and the date of birth provided was November 25,

1947. Musa Patel, with this same date of birth, is known to be the father of Firoz Patel, the

primary target of the investigation and the owner of Payza. I know based on my training and

experience that using other people’s names, which could include family members and friends, is

a common way that criminals attempt to conceal the true ownership of illicit proceeds.

      When the Blockchain.com account was opened, the phone number provided for the

account owner was 514-991-4662, and the email provided for the owner was

fijmeister@gmail.com (Email Account 1), as the identifiers. During the course of the

investigation into Payza, it was discovered that both this phone number and Email Account 1

were known to be associated with Firoz Patel, and not Musa Patel.

      The person who opened this Blockchain.com account also provided an address of 35

Barrack Road, 2nd Floor, Belize City, Belize. This address was used by Firoz Patel to

incorporate at least six different shell companies while operating Payza, to include Ecommerce

Worldwide d/b/a Egopay, that was used to provide services to Payza’s highest risk clients, many



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of which were criminal enterprises such as Ponzi schemes.

       H.       Correspondence with Blockchain.com

      Information obtained from Blockchain.com reflects that on April 30, 2021,

Blockchain.com sent an email to Email Account 1 requesting further information for the purpose

of obtaining additional KYC information due to irregularities with the account information

provided at opening and the high value of the deposit. One such irregularity was the fact that the

account holder provided an address in Belize yet the IP address (IP ADDRESS 1) that was

obtained by Blockchain.com during the transaction indicated they were actually located in

Canada.

      In that email, Blockchain.com asked for the full legal name of the account holder. Despite

the fact that the account was opened in the name of “Musa Patel” using Firoz Patel’s email

address, phone number, and a business address associated with Payza, the response provided to

Blockchain.com was purported to be from an individual named “Vineet Tewari” on April 30,

2021 using Email Account 1. However, payment information obtained from Google indicates

the owner of Email Account 1 is actually Firoz Patel. Furthermore, during the course of the

investigation into Payza, it was discovered that an individual named Vineet Tewari was an

employee of Payza’s branch in India called Crescent Payments Private Limited, which is the

d/b/a name for Crescent Business Solutions Private Limited. The occupation provided to

Blockchain.com for Tewari was the Director of Crescent Business Solutions Private Limited.

Based on this information, I submit that there is a direct link between Tewari and Payza’s

business operations. The use of Tewari to further perpetuate the fraud upon Blockchain.com is

consistent with Firoz Patel’s prior use of Payza employees to open businesses and take actions to




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violate the law, and specifically in this case. to conceal his money laundering activities..

      The email from Blockchain.com to Email Account 1 also asked who Musa Patel was and

why this name was used at account opening. Tewari, using Email Account 1 responded, “[t]his

was the name of the person who setup the account in first place. There was no way to change the

name before I took over to my name for verification.” Blockchain.com also asked for additional

information to explain the possession of the bitcoin. The explanation provided was, “[t]he crypto

currency was transferred from my friend's account, also at Blockchain.com who has loaned me

the BTC to earn extra with. The BTC was purchased in years before (2015-2016) and was sitting

in his Blockchain account for a few years, before it was then transferred to Binance to trade with,

and then the extra brought back to Blockchain.” Blockchain.com determined this explanation

did not make any sense and did not adequately explain the origin of the bitcoin. This was one of

the reasons cited by Blockchain.com as to why they ultimately decided to restrain the bitcoin.

      Between April 30, 2021 and June 4, 2021, correspondence continued regarding the bitcoin

between Blockchain.com and Email Account 1. As noted above, Firoz Patel self-surrendered to

a Bureau of Prisons facility on June 11, 2021. Records obtained from Google show Email

Account 1 was accessed at least 93 times during this time period. A majority of the logins to

Email Account 1 were done via computer and had an IP address that comes back to a location in

Quebec, Canada (where Firoz Patel lived prior to his self-surrender). This IP address (IP

ADDRESS 1) was also the same one from which the Blockchain.com interest account was

opened. As noted below, IP ADDRESS 1 was also used to access Firoz’s Patel’s account at a

known cryptocurrency wallet services provider (Exchanger 1) 155 times between December 6,

2021, and April 26, 2021.

      The first account opened by Firoz Patel at Blockchain.com was originally created in



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August 2014, which is also the same time period during which the evidence indicates Payza

began offering Bitcoin services on its platform. Email Account 1 was utilized to open this

account. The phone number 514-991-4662, which is known to belong to Firoz Patel, is also

associated with the Blockchain.com account. The email address that is associated with the

account was changed to vineet.tewari6032@gmail.com (Email Account 2) on July 21, 2021

(approximately five and one-half weeks after Firoz Patel surrendered to a Bureau of Prisons

facility).

       Between June 19, 2021 and June 23, 2021, at least six emails were traded between Email

Account 2 and Blockchain.com where the owner of Email Account 2, Vineet Tewari, claimed

ownership of the funds and demanded Blockchain.com return them.

       Information obtained from Google indicates Email Account 2 was created using Tewari’s

name on June 18, 2021, just one day prior to using this email address to contact Blockchain.com

and claim ownership of the bitcoin and demand its return. The IP address utilized for the

creation of the account comes back to a location in London, United Kingdom.

       Based upon the evidence obtained from Blockchain.com and Google during the

investigation, I believe the person who opened and controlled the account at Blockchain.com

was in fact Firoz Patel, and not his father, Musa Patel. The use of his father’s name to claim

ownership of the account, and subsequently Tewari’s claim of ownership after Firoz Patel had

reported to prison, was likely an attempt by Firoz Patel to disassociate himself from the Bitcoin,

its ties to the illegal activities of Payza and Firoz Patel’s efforts to conceal his money laundering

activities.

       I.         Blockchain.com account and claim in the United Kingdom

       As noted above, after receiving responses that made no sense to their inquiries,



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Blockchain.com restrained the bitcoin in question and as required by the applicable laws of the

United Kingdom, disclosed the matter to the relevant authority there. On June 23, 2021, Firoz

Patel filed a claim in a Court in the United Kingdom against Blockchain Access UK seeking the

return of the 450 BTC. Neither Musa Patel nor Vineet Tewari have filed claims seeking the

return of the bitcoin.

       J.         Seizure of the Bitcoin in the United States

       On January 11, 2022, a United States Magistrate Judge for the United States District Court

for the District of Columbia issued a seizure warrant to seize approximately 459.92353048

bitcoin held by Firoz Patel at Blockchain.com.

       K.         The Bitcoin is Connected to Firoz Patel and Payza

        As stated above, the tracing of the bitcoin transactions in this investigation was primarily

completed by utilizing several bitcoin blockchain analysis tools provided by private sector

blockchain analytics providers. These providers use a cluster-based platform which analyzes

transaction history as well as exposure to clusters of addresses attributed to named

cryptocurrency services.

                 1.      Transfer of the Bitcoin to Blockchain.com

        On April 27, 2021, Firoz Patel consolidated 49 unspent deposits totaling approximately

477.77 BTC in a private Bitcoin wallet beginning with 1rePbTAW (Patel Wallet) and transferred

450 BTC into the account opened at Blockchain.com in the name of Musa Patel. Of the 49

deposits, 29 occurred between September 25, 2017, and December 20, 2017; 18 occurred

between March 14, 2020, and March 3, 2021; and two occurred on April 22 and 23, 2021. The

2017 deposits occurred while Payza was still operational; after Payza started accepting Bitcoin;

and before Payza and Firoz Patel had been indicted. The 2021 deposits occurred after Firoz



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Patel had been sentenced and his self-surrender date to report to prison had been extended, but

before he actually self-surrendered.

        The Patel Wallet was identified in a Zendesk conversation thread 3 between Firoz Patel

(portrayed to Blockchain.com as Tewari) and Blockchain.com customer support. In that

conversation, Firoz Patel told Blockchain.com to return the 450 BTC to the wallet he had sent it

from, i.e., the Patel Wallet.

                2.      Source of Funds: Firoz Patel’s Personal Exchange Account

        Two deposits of note into the Patel Wallet occurred just before the Blockchain.com

account was opened. One deposit for approximately 100 BTC was conducted on April 22, 2021,

and the second deposit for approximately 38.88 BTC was conducted on April 23, 2021, for a

total of approximately 138.88 BTC. These two deposits originated from a single account held at

a known cryptocurrency wallet services provider (Exchanger 1). Information obtained from

Exchanger 1 reflected the account from which these deposits originated was a personal account

owned by Firoz Patel that he opened on January 19, 2018. As noted earlier, IP ADDRESS 1,

used to access Gmail and Blockchain.com accounts belonging to Firoz Patel, was used to access

this account 155 times between December 6, 2020, and April 26, 2021, including on the dates

that the bitcoin was transferred to the Patel Wallet.

                3.      Source of Funds: Decentralized Swaps

        Between October 27, 2017, and December 21, 2017, while Payza was still operational

and after Payza started accepting Bitcoin, approximately 88.45 BTC of the Bitcoin was deposited



3
       Zendesk is a software company that provides, inter alia¸ software for customer support
communications. The communications between Firoz Patel and Blockchain.com.com that
occurred between April 30, 2021 and June 4, 2021, when he was seeking the return of the
Bitcoin, were recorded on this software.


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to the Patel Wallet from an identified cryptocurrency exchange (Exchanger 2).

       Records obtained from Exchanger 2 indicate this Bitcoin was in fact the output of swaps

of other cryptocurrency assets for Bitcoin using an identified decentralized exchange service

(DEX). 4 In other words, Payza dealt with other non-BTC cryptocurrency which were converted

into BTC, and then deposited into the Patel Wallet. I submit that because the converted Bitcoin

were sent to Firoz Patel’s own wallet, that he is the one that caused the other cryptocurrencies to

be converted to Bitcoin and then sent to his own wallet. In my experience, DEXs, which often

do not collect customer information or have anti-money laundering procedures in place to

identify suspicious transactions, are used not only by legitimate users for privacy, but also by

criminal organizations to obscure the source of illicit proceeds.

               4.      Source of Funds: Consolidation Wallets

       A large portion, approximately 123.80 BTC, of the Bitcoin was sourced to consolidation

wallets 1-5. On the blockchain, consolidation wallets are sometimes used to collect payments

from many different customers, or to collect funds from the victims of frauds, scams, Ponzi

schemes, or other cryptocurrency-enabled crimes. Due to the large volume of deposits observed,

the presence of consolidation wallets typically indicates some type of business or illicit activity

as they would almost never be utilized for personal use.

       Several of the wallets that transferred bitcoin to the Patel Wallet exhibited unusual

activity consistent with consolidation wallets. For example, a wallet beginning with 14wVKxrD

(Consolidation Wallet 1), transferred approximately 71.27 BTC via eight different withdrawals

to the Patel Wallet between September 26, 2017 and October 5, 2017. Consolidation Wallet 1



4
      A decentralized exchange (DEX) is a platform that allows two independent parties to
make cryptocurrency transactions without a third-party intermediary.


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was funded by 825 deposits between the dates of April 2, 2015 and June 20, 2016(while Payza

was still operational and after Payza started accepting Bitcoin). Further tracing revealed that

Consolidation Wallet 1 received deposits originating from certain cryptocurrency service

providers. The data for these deposits was obtained from three different exchanges which

revealed a number of the transactions contained notes input by the account holder indicating the

purpose of the transfer was to fund a Payza account.

       A wallet beginning with 1CyBAvVv (Consolidation Wallet 2), transferred approximately

31.87 BTC to the Patel Wallet on September 25, 2017. Consolidation Wallet 2 was funded by

223 deposits between May 28 and June 3, 2016 (while Payza was still operational and after

Payza started accepting Bitcoin). The wallet only made one withdrawal on September 25, 2017,

to the Patel Wallet. Further tracing revealed that Consolidation Wallet 2 received deposits

originating from Exchanger 3. The data for these deposits was obtained from Exchanger 3,

which revealed a number of the transactions contained notes input by the account holder

indicating the purpose of the transfer was to fund a Payza account.

       A wallet beginning with 17Erha1N (Consolidation Wallet 3), transferred approximately

19.84 BTC to the Patel Wallet on September 25, 2017. Consolidation Wallet 3 was funded by

256 deposits, all received on September 25, 2017 (while Payza was still operational and after

Payza started accepting Bitcoin). Of the 256 deposits into Consolidation Wallet 3, 246 were

received from Consolidation Wallet 4 for a total of 19.40 BTC. The wallet only made two

withdrawals, both on September 25, 2017, and both to the Patel Wallet.

       A wallet beginning with 1HjPGq15 (Consolidation Wallet 4) transferred approximately

0.0006 BTC to the Patel Wallet on October 5, 2017. Consolidation Wallet 4 was funded by

475 deposits between September 17, 2014 and September 27, 2017. Consolidation Wallet 4



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made 595 withdrawals throughout this timeframe, with 319 of those withdrawals going to

Coinapult. As stated above, based on emails reviewed during the investigation of Payza,

Coinapult was the primary source of Payza’s bitcoin when it first began offering cryptocurrency

services, beginning around August 2014. Coinapult then continued to provide Bitcoin services

to Payza until sometime in 2018. Of the 595 total withdrawals from Consolidation Wallet 4, 246

were sent to Consolidation Wallet 3, which were then sent to the Patel Wallet. Further tracing

revealed that Consolidation Wallet 4 received deposits originating from Exchanger 3. The data

for these deposits was obtained from three different exchanges which revealed a number of the

transactions contained notes input by the account holder indicating the purpose of the transfer

was to fund a Payza account.

       A wallet beginning with 1YjaaXd3 (Consolidation Wallet 5) transferred approximately

0.82 BTC to the Patel Wallet on September 27, 2017. Consolidation Wallet 5 was funded by 7

deposits between June 22 and June 28, 2016 (while Payza was still operational and after Payza

started accepting Bitcoin). The wallet only made one withdrawal on September 27, 2017, to the

Patel Wallet.

       The following chart summarizes the transfer information related to these consolidation

wallets:




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 Consolidation     Deposit     Number        Date(s)           Number of        BTC
 Wallet            Date        of            Transferred       Withdrawals      Transferred
                   Range       Deposits      to Patel                           to Patel
                                             Wallet                             Wallet
 Wallet 1          April 2,    825           September 26,     388              71.27 BTC
                   2015-                     2017- October
                   June 20,                  5, 2017
                   2016



 Wallet 2          May 28-     223           September 25,     1                31.87 BTC
                   June 3,                   2017
                   2016
 Wallet 3          September   256           September 25,     2                19.84 BTC
                   25, 2017                  2017
 Wallet 4          September   475           October 5,        595              .0006
                   17, 2014-                 2017
                   September
                   27, 2017
 Wallet 5          June 22-    7             September 27,     1                0.82 BTC
                   June 28,                  2017
                   2016
                                                               Total BTC to     123.80 BTC
                                                               Patel Wallet:


              5.      Consolidation Wallet 6

       Finally, blockchain analysis and records for Firoz Patel’s personal account at Exchanger

1 indicate that some of the funds from his Exchanger 1 account were in fact sourced from a

consolidation wallet beginning with 14Nq1J2w (Consolidation Wallet 6). On September 24,

2017, Consolidation Wallet 6 sent, via seven separate transactions, 682 BTC into the Patel

Wallet. One of those transfers was for 536 BTC. Subsequently, on December 17, 2020

(approximately five weeks after he was sentenced), Firoz Patel conducted a transaction in which

he transferred approximately 248.15 BTC. Two hundred of those Bitcoin went to his account at

Exchanger 1 and 48.15 BTC went back to the Patel Wallet as change. On March 3, 2021, Firoz

Patel conducted another transaction in which he transferred approximately 56.55 BTC. Of this

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Bitcoin, 0.39 BTC went to his account at Exchanger 1 and 56.15 BTC went back to the Patel

Wallet as change. Both of these transfers involving the 248.15 BTC and the 56.55 BTC have

been traced back to the seven transfers of Bitcoin in September 2017 from Consolidation Wallet

6. The 104.30 BTC (48.15 + 56.15) that was returned to the Patel wallet was a part of the 450

BTC that Firoz Patel transferred to his account at Blockchain.com. This activity indicates that

Consolidation Wallet 6 is most likely owned and controlled by Firoz Patel. A cluster analysis of

Consolidation Wallet 6 reveals it was funded by 1,1,836 deposits totaling approximately 803.66

BTC during the period from January 16, 2016, to November 22, 2017 (while Payza was still

operational and after Payza started accepting Bitcoin). 5 The analysis also shows Consolidation

Wallet 6 received approximately 0.72 BTC from a service cluster that can be directly attributed

to Payza. Further tracing revealed that Consolidation Wallet 6 received deposits originating

from other wallets that received transactions from Exchanger 3which revealed that the purpose

of the transfers were to fund a Payza account.

       Despite receiving 1,836 deposits, only nine withdrawals from Consolidation Wallet 6

were conducted. Eight of the nine withdrawals occurred on September 24, 2017. The fact that

Consolidation Wallet 6 received so many deposits and so few withdrawals is highly unusual for a

personal wallet. Furthermore, cryptocurrency subject matter experts have advised me that

private, un-hosted (not tied to a cryptocurrency exchange account) wallets that exhibit

commercial behavior are typically observed in various types of online fraud scams and Ponzi

schemes. These were the same types of merchants to whom Payza was known to illegally

provide payment and money transfer services.

       Further tracing of the bitcoin transferred into Consolidation Wallet 6 revealed it received



5
       The average of those 1836 deposits therefore would have been 0.4379 BTC.
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multiple deposits that originated from known dark web criminal enterprises. For example, one

deposit was for approximately 0.45 BTC and occurred on March 5, 2016. This deposit

originated from a known online scam called Recyclix.com. A second deposit was for

approximately 0.21 BTC and occurred on April 19, 2016. This deposit originated from an

account known to be associated with a site called Dark Scandals that was involved in selling

child abuse material on the dark web. These deposits were both received by Consolidation

Wallet 6 indirectly via two intermediary wallets, but the intermediary wallets conducted the

transactions within hours of being sent from the illicit markets. This behavior is typical of

darknet market vendors who cash out illicit proceeds using services like Payza, during which

they send bitcoin through one or more private wallet addresses and wait some period of time

before depositing funds into a service like Payza. This transaction pattern is intended to put

distance between the deposit and the source of funds.

               6.      Source of Funds: Funds Tied to Payza’s Service Wallet

       Service Provider’s Wallets are typically wallets that have been attributed by blockchain

analysis tools to companies that provide online cryptocurrency services. The Payza Service

Cluster in the blockchain analysis tool was active on the Bitcoin Blockchain from August 8,

2014 to October 18, 2021 (which includes the time period while Payza was still operational and

after Payza started accepting Bitcoin). These observed dates indicate that Payza was still

operational for over three years after Firoz Patel was indicted and for at least four months after

he self-surrendered to U.S. authorities to serve his prison sentence. During this time period, a

total of approximately 37,401 transfers were received and approximately 81,569 transfers were

sent from Bitcoin addresses attributed directly to Payza. A review of Payza’s website by HSI

agents on March 27, 2015, clearly showed that customers could use Bitcoin as a method of



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adding and withdrawing funds from a Payza account. I submit that these facts establish that

Payza was extensively utilizing Bitcoin while Payza was operational. The Payza Service Cluster

sent approximately three transfers totaling 59.72 BTC to the Patel Wallet from September 25-27,

2017. Two of the three transfers, totaling 0.24 BTC went directly into the Patel wallet and into

the 450 transfer. The remaining 59.48 BTC were comingled with additional funds in the Patel

Wallet and sent out as a transaction of 118.48 BTC to Firoz Patel’s Exchanger 1 account (100

BTC were sent to Exchanger 1 and 18.48 BTC were returned to the Patel Wallet as change). The

18.48 BTC change was later sent from the Patel Wallet as part of the 450 BTC transferred to

Blockchain.com on April 27, 2021, by Firoz Patel.

               7.      Payza’s Bitcoin Services

       As stated previously, it appears Payza first began offering cryptocurrency services around

August 2014. Payza primarily utilized a Panama based cryptocurrency services provider called

Coinapult in order to obtain bitcoin whenever a customer wanted to load their Payza account in

this manner. Based on emails reviewed during the original investigation into Payza, Coinapult

was the primary source of Payza’s bitcoin when it first began offering cryptocurrency services.

Furthermore, blockchain analysis reveals significant interaction between the Payza Service

Cluster, Consolidation Wallets 1 and 4, and Coinapult.

       On September 5, 2017, Payza publicly announced through a press release that it would

start giving customers full control of the Bitcoin wallets they used for interacting with Payza.

Prior to this, if a customer wanted to deposit or withdraw Bitcoin, they had to first deposit the

funds into their Payza account. After depositing the funds, Payza itself would then purchase the

Bitcoin from Coinapult. Once this process was complete, Payza would make the Bitcoin

available to the customer. The problem with this process from the customer’s perspective was



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that since Payza was acquiring the Bitcoin from the provider, it meant that Payza controlled the

wallet to which the Bitcoin was deposited and could take the funds at any time if they chose to

do so. Payza maintained full control of the Bitcoin instead of the customer. This also explains

why activity attributed to the Payza cluster on the blockchain significantly declined once users

had full control of their wallets.

        Starting approximately three weeks later, on September 24, 2017, and continuing for the

next three months, a majority of the 450 bitcoin was consolidated into both the Patel Wallet and

Firoz Patel’s personal account at Exchanger 1. See Chart, infra at 37.

        Several petitions received by the U.S. Department of Justice from victims claiming to

have lost Bitcoin they had on deposit at Payza reflect transaction dates that occurred between

September 2018 and November 2018, which was at least six months after Payza was indicted

and shut down by the U.S. Department of Homeland Security and the United States Attorney’s

Office for the District of Columbia. Blockchain analysis also reflects Bitcoin transactions have

occurred in wallets attributed to Payza as recently as October 2021, four months after Patel

reported to prison. This evidence shows that despite the indictments, convictions, and forfeiture

actions taken against Firoz Patel and Payza by U.S. government authorities, Payza continued to

operate as an unlicensed money transfer business in violation of U.S. law, and Firoz Patel

continued to launder his ill-gotten proceeds.

        As part of Firoz Patel’s plea agreement, he was required to disclose all known assets to

the U.S. government. Based on the transactional activity observed in the blockchain, particularly

the transfers that took place between the time when Patel was sentenced and when he reported to

prison, it is clear that Firoz Patel not only knew about the bitcoin discussed above, but willfully

chose not to disclose them. Based on the evidence obtained in this case, it is likely that Firoz



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Patel did not disclose these assets because he knew they were derived from Payza’s illicit

activity and would therefore have been subject to forfeiture.

       During the investigation, HSI reviewed tens of thousands of emails, reviewed countless

documents, and interviewed numerous witnesses. At no point was there any indication or

revelation that Firoz Patel may have been engaged in employment outside of Payza or possessed

an income stream that was not related to Payza in some manner. Accordingly, I submit that the

entirety of the 450 Bitcoin can be traced back to the time period that Firoz Patel was running

Payza and the illegal activity of Payza is the source of the Bitcoin.

       L.      Summary of Transfers of the Bitcoin to Patel Wallet

       The following chart summarizes the Dates, Descriptions, Amounts and Percentages of the

Bitcoin transfers:

 Section Above Date(s)                      Description                    Amount of Bitcoin
 2             April 22-23, 2021            Transfer from Firoz Patel’s    138.88
                                            Personal Account at
                                            Exchanger 1
 3                   October 27, 2017 –     Conversion of Other            88.45
                     December 21, 2017      Cryptocurrencies to Bitcoin
                                            (Exchanger 2)
 4                   September 252017-      Transfers from                 123.80
                     October 5, 2017        Consolidation Wallets 1-5
 5                   September 24, 2017     Transfers from                 104.31
                                            Consolidation Wallet 6

 6                   September 25, 2017-    Transfer from Payza Service    18.72
                     April 27, 2021         Cluster
 TOTALS                                                                     474.16
                     September 27, 2017     Other transfers                3.6
                     – March 3, 2021
                                                                           477.76
                     April 27, 2021         Change returned to the Patel   -27.76
                                            Wallet after transfer to
                                            Blockchain.com
                                                                           450 BTC


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       L.      Conclusion

       Based on the information provided in this affidavit, there is probable cause to believe the

Bitcoin transferred to Blockchain.com is owned by Firoz Patel and was derived directly from

Payza’s illicit business operations as an unlicensed money transfer service and its money

laundering operation.

       Based on the above facts, Patel’s depositing of the Bitcoin into the Blockchain.com

account constituted a violation of Title 18 U.S.C Sections 1956(a)(1)(B)(i) (concealment money

laundering) and 1957 (expenditure money laundering), and gives rise to forfeiture of property

traceable to the crime as well as “clean” property involved in the crime. There is also probable

cause to believe that the Bitcoin represents funds which were involved in the commission of wire

fraud and in the operation of an unlicensed money transmission business, as well as funds

commingled with fraud and other illegal proceeds that flowed through Payza due to its

purposeful lack of due diligence of its customers. This type of activity occurred throughout the

entire period during which Payza was operational.




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       I respectfully request, pursuant to Rules 4.1 and 41(d)(3) of the Federal Rules of Criminal

Procedure, permission to communicate information to the Court by telephone in connection with

this Application for an Arrest Warrant.

                                                      Respectfully submitted,



                                                      ________________________________
                                                      Eugene Sveum
                                                      Special Agent
                                                      Homeland Security Investigations




Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on April 25, 2023.
                     Digitally signed by G. Michael
                     Harvey
                     Date: 2023.04.25 12:05:13
_________________________________________
                     -04'00'

HONORABLE G. MICHAEL HARVEY
UNITED STATES MAGISTRATE JUDGE




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